                           IN THE UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF PENNSYLVANIA


       In re: JAMES SIMMONS and                     :
              KEISHA SIMMONS                        :
                                                    :     No: 19-01991-RNO
                             Debtors                :     Chapter 13
                                                    :

                          STIPULATION RESOLVING OBJECTION TO
                      DEBTORS’ MOTION TO INCUR POST-PETITION DEBT


              Now comes Debtors and Creditor, CCP Property Owners Association South (the

       “Association”), to stipulate to the resolution of Association’s Objection to Debtors’ Motion to

       Incur Post-Petition Debt, and in support thereof avers:

              1.      Debtors filed a Motion to Incur Post-Petition Debt on or about March 4, 2021

                      to borrow certain sums (“the subject loan”).

              2.      Association timely objected to said Motion on March 18, 2021.

              3.      Through discussions between the parties, Debtors and Association have agreed

                      to the following stipulation to be entered of record and approved by this

                      Honorable Court as follows:

                      A.     Association’s secured claim (pre-petition debt) totals $6,057.21;

                      B.     Debtors’ post-petition delinquency to Association, as of March 31,

                             2021, is $4,983.90;

                      C.     The sum to be paid by Debtors to Association at the time of the closing

                             of the subject loan is $11,041.11;

                      D.     Effective April 1, 2021, Debtors are to pay post-borrowing assessments

                             to Association on a monthly basis, the current rate being

Case 5:19-bk-01991-MJC       Doc 62 Filed 03/23/21 Entered 03/23/21 11:47:56               Desc
                             Main Document     Page 1 of 2
                           $186.13/month for the remainder of 2021, and for those future sums as

                           set by the Association based upon its annual budget; and

                   E.      In exchange for compliance with items A-D above, Association shall

                           withdraw its Objection to Debtors’ Motion to Incur Debt.

             4.    The undersigned represent that they have authority to enter into the present

                   stipulation.

             5.    The undersigned request to have this stipulation entered as an order of court.



       YOUNG & HAROS, LLC                        ARM LAWYERS



       ______________________________            ____________________________
       GREGORY D. MALASKA, ESQ.                  PATRICK J. BEST, ESQ.
       Attorney I.D. No. 85524                   Attorney I.D. No. 309732
       802 Main St.                              18 N. 8th St.
       Stroudsburg PA 18360-1602                 Stroudsburg, PA 18360
       (570) 424-9800                            (570) 424-6899
       Attorney for CCP Property Owners          Counsel for Debtors
       Association South




Case 5:19-bk-01991-MJC    Doc 62 Filed 03/23/21 Entered 03/23/21 11:47:56               Desc
                          Main Document     Page 2 of 2
